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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   CASE NO.: 2:22-cv-14350




      JOHN MCCARTHY,

        Plaintiff,

      v.

      LASHERI BAKER and ST. LUCIE COUNTY
      BOARD OF COUNTY COMMISSIONERS,

        Defendants.
                                                          /

   DEFENDANTS ST. LUCIE COUNTY AND LASHERI BAKER’S MOTION FOR FINAL
      SUMMARY JUDGMENT AND INCORPORATED MEMORANDUM OF LAW

             Defendants, ST. LUCIE COUNTY (“the COUNTY”) and LASHERI BAKER

  (“BAKER”), pursuant to the provisions of Rule 56 of the Federal Rules of Civil Procedure and

  Local Rule 56.1, request this Court enter Final Summary Judgment in their favor as to: (1) Count

  III of the Amended Complaint, a civil rights claim based on a failure-to-train theory of Monell

  liability pursuant to 42 U.S.C. §1983; and (2) Counts II and IV, Florida state-law false arrest claims

  against Defendants BAKER and ST. LUCIE COUNTY, respectively. 1

             As the following arguments and citations of authority demonstrate, along with the

  contemporaneously filed Statement of Material Facts Not In Dispute, no liability can be imposed

  against Defendant ST. LUCIE COUNTY on a §1983 failure to train theory of liability for the




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          These are the only counts remaining in the Amended Complaint following this Court’s
  partial grant of a Motion to Dismiss that determined BAKER was entitled to qualified immunity
  on the individual §1983 claim, Count I, and limited the scope of Count III to the second arrest on
  a failure-to-train theory. (D.E. 36)
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  Plaintiff’s second arrest on January 3, 2020 because: (1) the COUNTY supervised and trained all

  pre-trial service officers on drug testing procedures; (2) on December 19, 2019, the COUNTY

  instituted and trained drug lab and pre-trial services personnel following the Plaintiff’s release

  after his first arrest on a newly instituted “two negative test approach” system for detecting new

  marijuana usage; and (3) the Plaintiff’s second arrest was based on well-established scientific

  principles that new usage had to have occurred given the Plaintiff continued to test positive at or

  about the same THC levels as when he was initially tested on October 28, 2019.

         With regard to the state-law false arrest claims, there exist no genuine issues of material

  fact in dispute that probable cause existed for both the first and second arrests. Additionally, as to

  Defendant BAKER, pursuant to the provisions of §768.28(9)(a), Fla. Stat. she is immune from suit

  because there was nothing she did in submitting pre-trial release violations that was done in bad

  faith, with a malicious purpose, or in a willful or wanton manner.

         Based upon the foregoing, therefore, Defendants ST. LUCIE COUNTY and BAKER are

  entitled to final summary judgment in their favor on all remaining claims, the §1983 claim, Count

  III of the Amended Complaint, as well as Counts II and IV, the state-law false arrest claims. If the

  Court grants summary judgment on the §1983 claim and does not elect to consider disposition of

  the state-law false arrest counts, given there would then exist no independent basis for federal

  jurisdiction, this court should decline to exercise jurisdiction over the state-law false arrest claims

  and remand those claims to state court pursuant to the provisions of 28 U.S.C. §1367(c)(3).

                                      I.      INTRODUCTION

         This case arises out of Plaintiff’s two arrests when he violated the terms and conditions of

  his pre-trial release on state-law criminal charges.




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          Plaintiff, MCCARTHY was initially arrested in October 2019 and charged with battery

  and battery on an elderly person. On October 30, 2019, the Plaintiff was placed on pre-trial release

  by a state-court judge with a requirement, inter alia, that he use no drugs or alcohol and submit to

  random drug screens. During his initial intake drug screen he tested positive for cannabinoids

  (THC) and admitted that he had last used marijuana on October 28, 2019. Thereafter, Plaintiff

  underwent drug screening tests on November 5 and 13, 2019 through the St. Lucie County’s drug

  lab and tested positive. These results based upon well-established toxicology principles indicated

  new drug usage. On November 21, 2019 a pre-trial services officer, Defendant BAKER,

  reasonably relying on the drug lab’s conclusions, sought the arrest of Plaintiff for violating the

  conditions of his pretrial release.

          The Plaintiff’s criminal counsel, in an effort to secure the Plaintiff’s release from pretrial

  detention, communicated with a private drug testing lab and the State Attorney’s office regarding

  the bona fides of the test results. Plaintiff then filed an unopposed Motion to reinstate Plaintiff

  MCCARTHY’s bond and to be released from the St. Lucie County Jail. ST. LUCIE COUNTY

  was not requested to nor did it participate in the arguments regarding the unopposed Motion and

  the Motion was granted.

          On December 19, 2019, based partly upon these developments, which had never been

  encountered previously with any other individual on pre-trial release, the ST. LUCIE COUNTY

  drug lab and pretrial services instituted a revised testing procedure, the “two negative test

  approach”, to determine new drug usage. This new approach to the determination of new drug

  usage was based upon the recommendation of Paul Cary, a well-respected scholar and the

  Scientific Director for the Toxicology Laboratory, University of Missouri. Mr. Cary recommended

  that two consecutive negative test results separated by a seven-day interval be utilized to determine




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  when an individual has reached his or her abstinence baseline. This approach provides that after

  30 days continued cannabinoid positive urine drug tests “almost certainly indicate marijuana usage

  at some point during the detoxification period.”

          The Plaintiff was again tested on December 26, 2019 pursuant to the terms of his release.

  Given that he claimed he had not used marijuana since October 28, 2019, almost two months prior,

  under well-established scientific guidelines only the most minimal trace amounts should have been

  detected. In fact, however, this was not the case and the Plaintiff was re-arrested. The Judge for

  this second arrest was advised prior to revoking pretrial release that Plaintiff wanted confirmation

  of the drug lab’s conclusions but the Judge still revoked release.

          Plaintiff was incarcerated from January 3, 2020 through January 8, 2020, when he again

  secured his release. It is from this second arrest that the remaining component of the §1983 Monell

  claim in the Amended Complaint emanates.

          Summary judgment on Count III in favor of the COUNTY is appropriate because the

  COUNTY drug lab and pre-trial services employees were in fact adequately trained, the issues

  attendant with the first arrest were addressed, and a deliberate choice was made to provide training

  and modification of the training and standards. There was absolutely no actionable deliberate

  indifference to the Plaintiff’s constitutional rights. As to Counts II and IV, the state-law false

  arrest claims, probable cause existed for both arrests. Additionally, as to Defendant BAKER, she

  is immune from suit because there was nothing willful or wanton about her seeking revocation of

  the pretrial release.

                                 II.    PROCEDURAL HISTORY

          Plaintiff’s initial Complaint named LASHERI BAKER and ST. LUCIE COUNTY as

  Defendants and asserted state-law false arrest and §1983 claims against each Defendant based on




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  both the first and second pretrial release arrests. (D.E. 1) Both Defendants moved the dismiss the

  §1983 claims. (D.E. 6) Defendant BAKER’s Motion was based on qualified immunity. As to

  Defendant ST. LUCIE COUNTY the Motion was based on the failure to state a claim upon which

  relief could be granted given insufficient allegations to support a Monell theory of liability on

  custom and practice, or failure to train, in addition to the lack of any unreasonable search and

  seizure. (D.E. 6)

         This Court granted the motions to dismiss the two §1983 claims and provided Plaintiff an

  opportunity to amend. (D.E. 13) An Amended Complaint was then filed containing identical

  claims and counts as the initial Complaint. (D.E. 14)

         Defendant BAKER again moved to dismiss the §1983 claim in the Amended Complaint

  against her, individually on the basis of qualified immunity. (D.E. 15) That motion was granted

  and Count I of the Amended Complaint was dismissed with prejudice. (D.E. 36) Defendant ST.

  LUCIE COUNTY moved to dismiss the §1983 Monell claim in the Amended Complaint and that

  Motion was denied but only to the extent of a Monell failure-to-trial claim based on Plaintiff’s

  second arrest. (D.E. 15, 36)

         The Report and Recommendation of the Magistrate on the Motion to Dismiss the Amended

  Complaint (D.E. 19) found that the allegations related to Plaintiff’s first arrest and subsequent

  exonerations potentially served to put the COUNTY on notice of a need to train its probation

  officers as to the limited value of successive, close-in-time drug screening test results and their

  inability to determine new drug usage, without first obtaining confirmation testing. Therefore, as

  to the Plaintiff’s second arrest, the arrest on January 3, 2020, the Motion was denied as to Count

  III to the extent it alleged a Monell failure-to-train claim. The Report and Recommendation,

  however, noted this ruling does not preclude a different result at summary judgment based on the




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  facts and circumstances developed during discovery. (D.E. 19, p. 12) It is this remaining portion

  of the Monell claim the to which the instant Motion for Partial Summary Judgment is directed.

                                          III.    ARGUMENT

    A.      As to the §1983 Claim County Employees Were Trained, and Relied on the Drug
            Lab Who Revised its Procedures - No Constitutional Violations Occurred

          The strictures of Monell liability are well established. The Supreme Court recognizes

  “limited circumstances” under which “failure to train” can give rise to Monell liability. City of

  Canton v. Harris, 489 U.S. 378, 387 (1989). Specifically, inadequate training “may serve as the basis

  for § 1983 liability only where the failure to train amounts to deliberate indifference to the rights of

  persons with whom the police come into contact.” Id. at 388.

          To show ‘“deliberate indifference,’ a plaintiff must present some evidence that the

  municipality knew of a need to train and/or supervise in a particular area and that the municipality

  made a deliberate choice not to take any action.” Gold v. City of Miami, 151 F.3d 1346, 1350 (11th

  Cir. 1998). The Eleventh Circuit has repeatedly held that, without notice of a need to train or

  supervise in a particular area, a municipality cannot be liable as a matter of law under a failure-to-

  train theory. Id.

          The Eleventh Circuit has adopted, and the Magistrate quoted in total in the Report and

  Recommendation directed to the Motion to Dismiss the Amended Complaint, the following pattern

  jury instructions to describe the elements of a Monell failure-to-train claim:

               To succeed on this claim, [name of plaintiff] must prove each of the
               following facts by a preponderance of the evidence:

               First: That [name of officer] violated [name of plaintiff]’s [describe
               constitutional right];

               Second: That [name of officer] was not adequately [trained, supervised]
               in [describe relevant area, e.g., the use of deadly force];




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              Third: That [name of official policy-maker] knew based on at least one
              earlier instance of unconstitutional conduct materially similar to [name of
              officer]’s violation of [name of plaintiff]’s constitutional rights that
              [additional] [training/supervision] was needed to avoid [describe alleged
              constitutional violation] likely recurring in the future; and

              Fourth: That [name of official policy-maker] made a deliberate choice not
              to provide [additional] [training/supervision] to [name of officer].

  Eleventh Circuit Pattern Jury Instruction (Civil) No. 5.11, Government Entity Liability for Failure

  to Train or Supervise.

         The pattern jury instruction on the failure to train or supervise, extensively relied upon by

  the Magistrate in ruling on the Motion to Dismiss the Amended Complaint demonstrates

  Defendant ST. LUCIE COUNTY’s entitlement to summary judgment in its favor on Count III of

  the Amended Complaint.

         First, as the Statement of Material Facts Not in Dispute conclusively establishes, Defendant

  BAKER was in fact trained and supervised and was provided an extensive training on drug

  screening, including the Creatinine-Normalized Cannabinoid results to be utilized in a forensic

  context for the determination of new drug exposure and usage. She was trained to rely on the Drug

  Lab results. In fact, it is undisputed that the COUNTY relied on Paul Cary, the Scientific Director

  of the Toxicology and Drug Monitoring Laboratory at the University of Missouri Hospital and

  Health Care System in Columbia, Missouri, for the scientific principles on which the drug lab was

  trained and operated and on which pretrial services would rely to establish whether new drug usage

  had occurred. Mr. Cary was involved in the management of nationally-recognized toxicology

  laboratories, and was a resource to drug court teams throughout the Nation. This was the

  methodology utilized regarding the first arrest.

         As outlined above, Gold requires a political subdivision make a deliberate choice not to

  train. In the instant case, the County trained its pretrial services employees to rely on drug testing



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  results using methodology by nationally recognized toxicology experts. This is not deliberate

  indifference, but constitutionally proper training.

          Regarding the second arrest, the COUNTY revised its policies and procedures on

  December 19, 2019 by utilizing the two negative test approach to determine new usage. Again,

  this was based on nationally recognized toxicology drug court expert methodology. However,

  given that the Plaintiff himself advised the COUNTY that he had not engaged in any new usage

  since October 28, 2019 well-established scientific principles indicated that his THC levels should

  have been virtually non-existent. In fact, after 60 days of claimed non-usage he was still testing

  positive.

          Given the foregoing, it is eminently clear ST. LUCIE COUNTY made an absolute choice

  to revise its policies and procedures and trained its employees appropriately. There was nothing

  done to even remotely evidence deliberate indifference regarding training or in any other manner

  for that matter. Furthermore, it should be noted that this situation had never presented itself except

  for the one prior arrest of the Plaintiff, the first arrest.

          Moreover, it is patently absurd to expect that between December 21, 2019 and January 3,

  2020, issues attendant with the first arrest should have been analyzed, training implemented, and

  revised. This was a period less than two-weeks and over a Christmas and New Year’s holiday.

  Again, there is no evidence of deliberate indifference nor lack of training on which any jury could

  possibly find in favor of Plaintiff on a Monell failure to train theory.

                           B.       Probable Cause Existed for Both Arrests.

          With regard to the state-law false arrest claims, Count II against Defendant BAKER,

  individually, and Count IV against the COUNTY, both Defendants are entitled to summary




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  judgment in their favor. Probable cause existed for the Plaintiff’s two pretrial release arrests. This

  is an absolute defense to a state-law false arrest claim.

         Under Florida law, probable cause is an affirmative defense to a tort claim of false arrest.

  Battiste v. Lamberti, 571 F. Supp. 2d 1286 (S.E. Fla. 2008). Where an officer has “probable cause”

  to engage in acts resulting in a detention, a claim for false arrest and false imprisonment is

  precluded. Grix v. Florida Fish and Wildlife Conservation Commission, 821 So.2d 315 (Fla. 4th

  DCA 2002). Moreover, probable cause exists when the circumstances are sufficient to cause a

  reasonably cautious person to believe that the person arrested is guilty of a criminal offense. Daniel

  v. Village of Royal Palm Beach, 889 So.2d 998 (Fla. 4th DCA 2004).

         Application of the foregoing principles to the material facts not in dispute conclusively

  establish that both probable cause existed for the first and second rearrests. The drug lab conducted

  testing and based upon the “gold standard” for confirming new marijuana usage and the

  scientifically viable toxicology principles utilized by the ST. LUCIE COUNTY Drug Lab,

  probable cause existed as a matter of law for both arrests. Any reasonable officer when presented

  with this information from the Drug Lab would conclude probable cause existed that plaintiff

  continued to use marijuana.

         Moreover, the fact that the state criminal court released the Plaintiff after both arrests is

  absolutely immaterial to the determination of whether probable cause initially existed. Thomas v.

  Beary, 770 So.2d 699 (Fla. 5th DCA 2000). An officer who arrests someone with probable cause

  is not liable for false arrest simply because the “innocence” of the suspect is later proved, despite

  there has been no determination in this case whether new usage in fact occurred. Boca Raton v.

  Coughlin, 299 So.2d 105 (Fla. 4th DCA 1974).




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           Furthermore, regarding the second arrest, the Judge was advised the Plaintiff had requested

   confirmation testing yet decided to revoke the release. This decision by the Judge broke the claim

   of causation for a false arrest claim. Drudge v. City of Kissimmee, 581 F. Supp. 2d 1176 (M.D.

   Fla. 2008).

             C.       Defendant Baker is Immune From Suit in Her Individual Capacity

           Second, with regard to the claim against BAKER, individually, for false arrest the

   provisions of §768.28(9)(a), Fla. Stat. preclude the claim against her in an individual capacity as

   there is no genuine issue of material fact in dispute regarding the absence of bad faith, malicious

   purpose, or wanton and willful disregard of human rights, safety, or property.

           There is simply nothing in the facts and circumstances surrounding Defendant BAKER’s

   directive from the supervisor of pre-trial services based upon the Drug Lab’s testing, analysis, and

   confirmation that Defendant BAKER knew or reasonably should have known in light of the

   surrounding circumstances that her conduct would probably result in injury and, with such

   knowledge, disregarded the foreseeable in juris consequences. Keating v. City of Miami, 598 F.

   Supp. 2d (S.D. Fla. 2009)

           It is clear that Defendant BAKER was acting within the course and scope of her

   employment and evidenced no malice or willful misconduct whatsoever. She reasonably relied

   upon information provided by the drug lab and would have no basis to even question the legitimacy

   of the test results.

           In conclusion, Defendant ST. LUCIE COUNTY is entitled to summary judgment in its

   favor on Count III of the Amended Complaint, the §1983 Monell claim based on the second arrest.

   Defendants ST. LUCIE COUNTY and BAKER are entitled to summary judgment in their favor

   on Counts II and IV, the state-law false arrest claims.




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                                    CERTIFICATE OF SERVICE

          I certify that a true and correct copy of the foregoing document was electronically filed with

   the Clerk of Court using CM/ECF and served on all counsel of record on the attached service list in

   the manner specified either via transmission of Notices of Electronic Filing generated by CM/ECF

   or in some other authorized manner for those counsel or parties who are not authorized to receive

   electronically Notices of Electronic Filing on this 8th day of April, 2023.

                                            CONROY SIMBERG
                                            Attorney for St. Lucie County
                                            1801 Centrepark Drive East, Suite 200
                                            West Palm Beach, FL 33401
                                            Telephone: (561) 697-8088
                                            Facsimile: (561) 697-8664
                                            Primary Email: eservicewpb@conroysimberg.com
                                            Secondary Email: jblaker@conroysimberg.com

                                            By:    /s/ Jeffrey A. Blaker
                                                  Jeffrey A. Blaker, Esquire
                                                  Florida Bar No. 443913

                                            SERVICE LIST

           JOHN MCCARTHY v. LASHERI BAKER, AND ST. LUCIE COUNTY BOARD
                           OF COUNTY COMMISSIONERS
                              CASE NO: 2:22-cv-14350
   Jordan R. Wagner, Esq.
   KIBBEY | WAGNER
   73 SW Flagler Avenue
   Stuart, FL 34994
   Email designation:
   jwagner@kibbeylaw.com
   diana@kibbeylaw.com
   Phone: (772) 444-7000




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